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Date: July 29, 2016

To:    Attorney Nathan G. Wagner
       DATSOPOULOS, MacDONALD & LIND, P.C.
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       201 W. Main Street
       Suite 201
       Missoula, Montana 59802
       406-728-0810

ESTATE OF LOREN SIMPSON vs. YELLOWSTONE COUNTY CV 15-0099-SPW

Thank you for retaining me to review and render opinions regarding the incident involving
Loren Simpson and the Yellowstone County Sheriff’s Department. Pursuant to the
requirements of Rule 26, I have studied the reports, photographs, Internal Affairs interviews
and other material provided to me regarding this case. Please be advised that if there are any
depositions or other materials produced in this case, a supplemental report will be necessary.

My Qualifications:

I joined the Los Angeles County Sheriff’s Department on January 21, 1977 and was a Deputy
Sheriff for almost 30 years. For 20 years, I was assigned to the Special Enforcement Bureau
(“SEB”), which included assisting S.W.A.T. calls. I have personal knowledge and experience
regarding, and have observed the practices and customs of law enforcement departments,
which reflect the employment and enforcement of proper training and use of less lethal
munitions and police service canines by law enforcement personnel. For over 15 years I was
the supervisor in charge of training with the Los Angeles County Sheriff’s Department canine
unit. In that capacity, I have handled or supervised the handling of hundreds of canine suspect
searches. I hold a California Peace Deputy Standards and Training (“POST”) Advanced
Certificate. I hold a California Peace Deputy Standards and Training Canine Evaluator
Certificate. Throughout my career with the Los Angeles County Sheriff’s Department, I received
ongoing POST certified training courses on police practices regarding interactions with
individuals suspected of crimes and as being mentally ill. These training programs include
learning domains, from which every Deputy in the State of California are taught, and many are
taught throughout the United States. As a Deputy Sheriff, I frequently dealt with persons
intoxicated, mentally ill, under the influence of controlled substances, hostile, barricaded, and
allegedly engaged in any and all types of misdemeanor and felony suspects, including violent
acts. I have been in hundreds of vehicle pursuits and high risk felony traffic stops. I have
worked a rural area similar to the area in this incident with the terrain and weather conditions.
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Synopsis According To Deputies Rudolph and Robinson:

On 1-8-14 at approximately 1352 hours, Deputy Rudolph and Deputy Robinson were dispatched
to Berry’s Cherries at 849 1st Ave N for an auto theft call. The deputies contacted the manager,
Jerry Schuster. Deputy Rudolph learned that the vehicle, a 1995 purple Ford Explorer, was
taken from the car lot about two days prior to being reported as stolen.




Deputies Rudolph and Robinson were told by the manager that the vehicle had a resale value of
maybe one thousand dollars. After the deputies obtained the information for a stolen vehicle
report, they drove around the area looking for the Ford Explorer. The type of crime they were
looking for was a misdemeanor. A person who stole a motor vehicle not exceeding $1,500 in
value will face a fine of up to $1,500, up to six months in jail, or both.

Earlier that day, the deputies had received a suspicious vehicle call matching the description of
the Ford Explorer on Rykken Circle. They observed the Ford Explorer parked near trailer number
two but there were no occupants in the vehicle. They believed Loren Simpson was somehow
involved because he frequents that area.

Later the same day, Deputies Rudolph and Robinson received a call from dispatch regarding a
burglary at 3695 Justice Trail. While responding to the rural area the deputies observed a Ford
Explorer traveling at a distance ahead of them on White Buffalo Road. The deputies were
unable to see who was inside the Ford Explorer, the license plate, or any of the driver’s
behavior. The road conditions were would not allow the deputies to get close enough to make
any positive identification of the Ford Explorer, the driver, or to conduct a vehicle stop.

Somehow, Deputy Robinson and Rudolph began forming hunches, that this vehicle was also
involved in the burglary they were responding to. Deputy Rudolph stated in his police report
” It seemed likely that whoever was driving the vehicle was somehow involved in the burglary.”



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There was a conversation in the patrol, either between Deputy Robinson and a person on the
phone, or between Deputy Robinson and Deputy Rudolph. The conversation indicates Deputy
Robinson is somewhat angry. He stated “That’s what these little fuckers do. They go steal
cars, just like I said, they go steal cars, and then they go break into shit, and throw their
stolen shit in those cars. Now they’re in the middle of fuckin’ nowhere.”

The deputies also began forming hunches that whoever was driving the Ford Explorer was
accelerating away from them. Deputy Rudolph never activated his emergency lights on the
patrol car to indicate to the driver to pull over. There is nothing on the police car camera video
to indicate the driver of the Explorer was trying to get away from them. The patrol car speed
was recorded at 20 miles per hour. The Explorer was not traveling much faster.

Because the road conditions were extremely poor; Deputies Rudolph and Robinson were
unable follow the vehicle due to the steep, icy, snow covered road. The patrol car came to a
stop with only the tires spinning. Deputy Rudolph attempted to back down the one lane road
and ran the patrol car into a snow bank getting it stuck.

After the patrol car was pulled out of the snow bank by some teenagers, Deputy Rudolph
positioned the car where no other vehicles could pass. The patrol car was blocking the roadway
where no other vehicles would be able to pass.

The time from when the deputies last observed the Ford Explorer until seeing it again, was 15
minutes. Below are two snips. The one on the left indicates when the deputies last observed
the Ford Explorer, the one on the right shows when the deputies observed the Ford Explorer
again.




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While Deputy Rudolph and Robinson were waiting for the Ford Explorer to return (knowledge
they received via a phone conversation from a teenager resident) they retrieved a shotgun and
.223 caliber assault rifle from the trunk. Deputy Rudolph loaded rifles slugs into the shotgun
and Deputy Robinson placed a twenty round magazine in the AR-15 assault rifle. The deputies
stated “Deputy Rudolph and I decided that since the suspect was in a stolen vehicle and possibly
involved with the recent burglary, we should have rifles at the ready, just in case he decided to
do anything drastic.”

At approximately 4:38 PM, Deputies Rudolph and Robinson saw the Ford Explorer returning to
their location. Both deputies exited the patrol car. They proceeded to walk out in front of the
patrol car and conduct a head on traffic stop of the vehicle on foot. It should be noted that
there were no emergency lights activated on the patrol car to indicate there was a road block
or to signal oncoming traffic to stop.

As the Ford Explorer approached Deputy Robinson and Deputy Rudolph, they pointed the rifle
and shotgun at the driver of the Ford Explorer. Deputy Robinson yelled for the driver to stop.

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Deputy Robinson observed the rear wheels on the Ford Explorer spin and kick up snow, and the
front end of the Ford Explorer began to swing towards him. Deputy Robinson said he realized
the driver of the Ford Explorer intended to run him over to get past the patrol vehicle.

Deputy Robinson and Rudolph began firing their weapons in an attempt to stop the driver from
running them over. Deputy Robinson said he fired 18 rounds into the Ford Explorer. Deputy
Rudolph fired 6 shotgun rounds at the driver.

Opinions:

   1. Deputy Robinson and Deputy Rudolph used excessive, unreasonable, and unnecessary
      force when they shot and killed Loren Simpson. Simpson was not a threat to the
      deputies. Simpson did not try to run over the deputies as they describe. In fact,
      Simpson tried to avoid hitting the deputies by running the vehicle into a snow bank.

   2. The video clearly shows a completely different version than what Deputies Rudolph and
      Robinson describe. The deputies’ state they saw the vehicle tires spin and throw snow
      as the driver accelerated towards them. The video shows the vehicle did not accelerate
      and was turning away from them prior to the shooting. A clip of the video below shows
      Simpson turning away from the deputies prior to any shots being fired by the deputies
      at Simpson. Deputies Robinson and Rudolph clearly violated the YCSD use of deadly
      force policy when they shot and killed Simpson.




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3. Deputies Rudolph and Robinson stated the reason they shot at the driver is that they
   were in fear for their safety. They intended to stop the vehicle from running over them.
   The deputies used excessive force when they shot at the driver from behind after the
   vehicle had plowed into a snow bank. Deputies Rudolph and Robinson continued to use
   deadly force by shooting into the back of the vehicle after the vehicle plowed into the
   snow. See photo below of Deputy Rudolph and Deputy Robinson firing into the rear of
   the vehicle. Deputy Robinson and Rudolph created the threat to them and embellished
   the facts of this incident.




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4. Deputy Rudolph states he and Deputy Robinson were at the front corners of the patrol
   car when the Explorer approached them. They actually walked about 10-15 feet in front
   of the patrol car prior to shooting. See below photo. It is my opinion that Deputy
   Rudolph and Deputy Robinson had pre planned this assault on Loren Simpson. Listening
   to the deputies’ conversations, the numerous violation of policy and procedures by the
   deputies, the complete lack for their own safety when standing in the middle of an icy
   road at dusk and the fact they both continued to shoot at Loren Simpson long after he
   wasn’t a threat.




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5. Deputies Rudolph and Robinson were not certain this was the stolen vehicle until after
   killing the driver and a follow up investigation was conducted. They had no idea who
   else may have been in the vehicle. A traffic stop should have been conducted in a
   manner trained by the sheriff’s department.

6. Deputy Rudolph and Deputy Robinson used a road block to stop Simpson. The road
   block is also a use of force which was unreasonable under these circumstances. This
   incident was at most a misdemeanor. The Yellowstone County Sheriff’s Department
   Policy states the following:
   Emergency Roadblocks to Apprehend Suspects
   A. All deputies must consider barricading a roadway as a force likely to cause death. It
   should be used only after other reasonable alternatives have been exhausted.
   B. Roadblocks will only be used in life and death situations, unless such actions are

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  specifically authorized by the Sheriff or Undersheriff, or are justified when the use of
  deadly force would be authorized. When the marked units are placed in position, it is
  preferable they will be parked at such an angle that they reveal the Sheriff’s office
  emblem on the door to oncoming traffic. Only marked patrol units will be used in the
  roadblock and emergency lights will be activated on these units.

   See YCSO Emergency Roadblocks to Apprehend Suspects, 3-3 Emergency Response and
   Vehicular Pursuit




7. The emergency lights on the patrol car were not activated until long after the shooting.
   Deputy Rudolph turned on the lights after they determined Simpson was dead. The
   deputy’s actions violated the YCSD policy regarding road blocks.

8. This incident was a lay and wait, pre-planned assault, on unarmed person driving a
   possible stolen vehicle which was worth less than one thousand dollars. There was no
   other crime involved. This vehicle was not reported stolen for several days, and it may
   not have been Loren Simpson who took the junker off the car lot. It is unknown if
   Simpson stole vehicle due to the two days of it being unreported. Simpson may have
   borrowed the Explorer or stole it, no one knows. Only a proper traffic stop and
   investigation would have revealed that information to the deputies.

9. Deputies Rudolph and Robinson used improper tactics for vehicle stop.

10. Simpson attempted to avoid colliding with deputies while driving down the icy one lane
    road. It is clear by watching the video Simpson was actually trying to avoid the officer.
    Simpson was able to maneuver the Explorer away from the deputies and not slide into
    them. If Simpson would have locked up the brakes on the vehicle, the vehicle would
    have gone into an uncontrolled skid and most likely hit the deputies. Simpson used
    stirring control and avoided the deputies.

11. The video clearly shows there was no spinning of tires or acceleration as the deputies
    stated in their police reports.

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12. As we approached the intersection of White Buffalo and Justice Trail, we observed a
    purple SUV pull out of Justice Trail and proceed northbound on White Buffalo Rd. Deputy
    Rudolph and I both agreed that it looked like the stolen Ford Explorer

13. Failed to conduct proper traffic stop of Ford Explorer

14. Deputy Rudolph and Deputy Robinson continuously relied only on hunches and not
    reasonable suspicion or probable cause. They said that because the driver of the
    Explorer was possibly involved in the burglary and may be armed, they needed sufficient
    firepower to stop the vehicle. There was no reasonable suspicion to believe this vehicle
    was involved in the burglary they were responding to. After all, they had not got to the
    call to talk to the victim of the burglary to obtain information or conduct any
    investigation. “Deputy Rudolph and I decided that since the suspect was in a stolen
    vehicle and possibly involved with the recent burglary, we should have rifles at the ready,
    just in case he decided to do anything drastic.”

15. Deputy Rudolph and Deputy Robinson violated The Yellowstone County Sheriff’s
    Department Policy regarding the deployment of the AR-15 assault rifle.
    Deputies should utilize discretion and good judgment when deploying the patrol rifle.
    The rifle is a tool that allows a tactical advantage to the deputy not available with the
    shotgun or handgun. Possible circumstances that may dictate deploying the patrol
    rifle are but not limited to:
    a. Felony stops
    b. Armed barricaded suspect(s), inner perimeter use
    c. Area searches for armed suspect(s)
    d. Patrol rifles should not be deployed for routine circumstances not involving
    weapons.
    e. Dispatching injured wildlife
    Furthermore, Deputies Rudolph and Robinson had not confirmed this was the stolen
    vehicle they were looking for. This Ford Explorer resembled the Ford Explorer they were
    looking for but they were not sure it was. One of the deputies was recorded saying he
    was not 100 percent sure this was the same vehicle.

16. The deputies should have contacted the registered owner of the vehicle during the
    suspicious vehicle call. Running the VIN would have revealed who the owner was. The

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      ignition was easily observed to be damaged. The suspicious vehicle call and the
      damaged ignition would indicate to the deputies this vehicle may be stolen. Proper
      investigative skills and techniques of minor incidents help prevent incidents from
      becoming major incidents. Se photo of damaged ignition below.




Witness Statements:

Megan Price explained that she had traded the Ford Explorer in because of serious mechanical
problems. She said she had an accident with the vehicle and as a result the front end "wobbled"
at about 30 mph and the SUV pulled to the right as well. She said the vehicle was very difficult
to stop in snow or icy conditions. I asked her if the reverse lights worked in the vehicle and she
indicated that she did not know, but added that after the accident there had been a "short" in
the electrical system that made the light go out from time to time.




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The following trajectories show where the deputies were when they fired the AR-15 and the
shot gun in relation to where Loren Simpson was. All the evidence below shows Loren Simpson
was not a threat to the deputies’.




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A total of 13 expended casings were located behind the vehicle driven by Simpson. 11 rounds
were located under the vehicle the following day. A total of 24 expended casings were found.

Twelve rounds fired hit the vehicle from head on and the passenger side.

Twelve rounds hit the vehicle from the rear and drivers side.




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The picture below is the location the deputies could no longer go forward due to the click icy
road. The view out of the rear window is obscured. The side mirrors were most likely in the
same condition because the deputy was unable to back up properly and drove off the road
getting the patrol car stuck. This is the same or worse view Simpson would have out the rear of
the Ford Explorer he was driving. How could Simpson know that there were officers following
him as they were saying over the phone. There was also a dog in the Ford Explorer which
would cause the windows to become foggy.




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Deputy Rudolph is trying to back up the patrol car. Deputy Robinson is talking on the phone and
states “I can’t see shit. I’m not even one hundred percent sure this is the car.” Deputy Rudolph
runs the patrol car into a snow bank and gets stuck.




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Performance of the Duties of YCSD Deputy Sheriff:
A Deputy shall perform all duties impartially, without favor or affection or ill will and
without regard to race/color, national origin, religion/creed, age, sex, marital status,
sexual orientation, physical or mental disability, political belief, and without retaliation
against any person for exercise of lawful rights. All citizens and fellow deputies will be
treated equally with courtesy, consideration and dignity. Deputies will never allow
personal feelings, animosities or friendships to influence official conduct. Laws will be
enforced appropriately and courteously and, in carrying out their responsibilities, deputies
will strive to obtain maximum cooperation from the public. They will conduct themselves
in appearance and deportment in such a manner as to inspire confidence and respect for
the position of public trust they hold.


Deputy Robinson appears to be upset as evidenced by his conversation and language he used
while on the cell phone and talking with Deputy Rudolph. His actions violated the YCSD policy.
Deputy Robinson’s personal feeling became involved as one can hear his conversations about
Simpson.

   1. This is what these little fuckers do
   2. We are in the middle of fucking no where
   3. I can’t see shit.


VI. Use of Force Continuum: Deadly Force
A. A deputy is justified in the use of force likely to cause death or serious bodily harm only if
the deputy reasonably believes that such force is necessary to prevent imminent death or
serious bodily harm to the deputy or another or to prevent the commission of a forcible
felony.
B. The use of deadly force against a "fleeing felon":
1. Deputies may use deadly force to affect the capture or prevent the escape of a felony
suspect whose flight is reasonably believed to represent an imminent threat of
serious bodily harm or death to the deputies or other person(s).
C. Whenever feasible, before using deadly force, deputies should identify themselves and
give instructions. For example: A deputy challenges a suspect by shouting; “Police, don’t
move”.
D. A deputy may also discharge a weapon under the following circumstances:
1. During range practice or competitive sporting events.
2. To destroy an animal that represents a threat to public safety, or as a humanitarian
measure where the animal is seriously injured.
E. Deputies shall adhere to the following restrictions when their weapon is exhibited:

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1. Except for maintenance or during training, deputies shall not draw or exhibit their
firearm unless circumstances create reasonable cause to believe that it may be
necessary to use the weapon in conformance with this policy.
2. Deputies will not fire warning shots.
3. Deputies may discharge a firearm at a moving vehicle or from a moving vehicle if it is
necessary to do so to protect against an imminent threat of serious bodily harm or
death to the deputies or others.
a. This provision shall not preclude tactical responses in a S.W.A.T. operation by its
members.




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No shots fired and no threat to officers as the Explorer is turned away from the deputies.




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First shots fired at a non-threat




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The emergency lights on the patrol car are off during prior to and after the shooting.




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A short time after the shooting Deputy Rudolph returns to the patrol car and activates the
emergency lights on the patrol car.




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It is extremely hard to tell a police car from a civilian car these days. Law enforcement agencies
sell their used vehicles with the push bar and spot lights on them.




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Items Reviewed to Render Opinions:




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Peace Officer Standards and Training:

POST Training Domain # 1: - “History, Professionalism, and Ethics.”
POST Training Domain # 2:- “Criminal Justice System.”
POST Training Domain # 20: – “Use of Force.”
POST Training Domain # 33: – “Arrest Methods/Defensive Tactics.”
POST Training Domain # 12:- “Controlled Substances.”




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                                  ewbk94@gmail.com



                  Resume for Ernest Burwell
                    Police/Canine/TASER
I Joined the Los Angeles County Sheriff’s Department in January 1977. I retired August
14, 2004. After the academy I was assigned to Wayside Honor Ranch where I supervised
inmates in maximum and minimum security, and supervise an inmate work crew taking
care of the animals at the ranch. My next assignment was one which was not voluntary,
and I was assigned to headquarters narcotics as an undercover buyer posing as a student
at Pepperdine University in Malibu.

I returned to working the jails at Men’s Central Jail in downtown Los Angeles,
supervising inmates in a maximum security facility. My next assignment would be one
of the toughest assignments on the Sheriff’s Department. I was assigned to Lynwood as a
patrol trainee. The area covered a large portion of South Central Los Angeles. I worked
many different assignments at Lynwood Station such as jailer, watch deputy, traffic
deputy, training officer, auto theft detective, and burglary detective.

I transferred several years later to Santa Clarita where I was a training officer. An
unusual position came available which I transferred to. The position was in a rural area
in the north end of Los Angeles County. The small town of Gorman had two resident
deputies which had an area of over 350 square miles of area to patrol. The nearest back
up was about an hour away. Interstate 5 is the main highway through California for
travelers heading north. This assignment included a canine partner since the resident
deputy works alone and all different hours.

After working Gorman with a canine, I transferred to the Special Enforcement Bureau,
Canine Detail. My duties consisted of high risk felony suspect searches, armed
misdemeanor suspect searches, article searches, SWAT calls, and training. While
working as a canine handler, Aero Bureau asked me to assist them with a personnel
shortage, knowing that I was a commercial helicopter pilot. I was transferred to Aero
Bureau for one year. I returned to the canine unit which was decentralized for about one
year, and returned the Special Enforcement Bureau. I have been assigned to that position
since.

I was assigned as an undercover narcotics deputy. I purchased illegal drugs, watched
individuals ingest heroin, mushrooms, cocaine, marijuana, and other illegal drugs. I have
made hundreds of arrests for sales, purchasing and being under the influence of illegal
drugs and alcohol. In 1984 I arrested 212 drunk drivers which were all convicted.
During my career I was qualified as a drug expert in the County of Los Angeles Superior
and Municipal Courts.



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I assisted training attorneys from several firms representing the County of Los Angeles
regarding the use and misuse of canine in all aspects of police functions.
I was a trainer for the non-profit organization Dogs against Drugs Dogs against Crime. I
trained hundreds of canine teams regarding the use of canine in SWAT operations,
including the United States Marine Corps.

As a Deputy Sheriff, I frequently dealt with persons intoxicated, mentally ill, under the
influence of controlled substances, hostile, barricaded, and allegedly engaged in any and
all types of misdemeanor and felony suspects, including violent acts

I hold a California Peace Officer Standards and Training (“POST”) Advanced Certificate.


Assignments
01/1977        16 week academy, class 183
5/1977         Wayside Honor Ranch, Minimum Security, Main Central Jail
5/1978         Headquarters Narcotics Division, undercover buyer
6/1979         Lynwood Station, Patrol, Field Training Officer, Auto Theft Investigator,
               Burglary Detective.
4/1983         Santa Clarita Station, Field Training Officer
1/1984         Gorman Sheriff’s Station, Canine handler, 350 Sq. mile rural area.
1/1986         Santa Clarita Station Canine handler
1/1987         Special Enforcement Bureau, Canine handler and assist SWAT
4/1988         Aero Bureau, Observer and Pilot, certified in reciprocating and turbine
               helicopters, commercial helicopter pilot.
1/1989         Lennox Sheriff’s Station, Canine handler and assist SWAT
1/1990         Special Enforcement Bureau, Canine handler, Trainer, and assist on
               SWAT calls and warrant services

Patrol Training

1/1984         AR-15 training
1/1985         Off road vehicle driving
9/1989         Tactical communication
6/1991         Special Enforcement Bureau weapons training
4/1993         Benelli Automatic shotgun training
3/1991         Handling mentally ill persons
4/1994         Chemical agents
4/1994         Arwin training
4/1994         Sting ball training/bean bag training
4/1994         Diversionary device training
4/1994         Taser training


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5/1993      Special Enforcement Bureau weapons training
7/1993      Special Enforcement Bureau weapons training
9/1996      Code 3 driving
9/1996      Sexual harassment training
1/1998      Oleoresin Capsicum training
5/2000      Vehicle pursuits and tactics
6/2001      Taser instructor training, Instructor Certification #
            010626138631412871346C
2/2003      MP-5 training
12/2003     Medical services training


Canine Training and Education
5/1984      Los Angeles County Sheriff’s Department basic canine training class, 160
            hrs
4/1985      Canine seminar at San Simeon, 3 days
1/1987      Adlerhorst Police Canine Handler School,160 hrs
1/1988      Los Angeles County Sheriff’s SWAT school
2/1989      Los Angeles County Sheriff’s Department canine training course, 6 weeks
8/1989      Los Angeles County Sheriff’s Department canine training course, 4 weeks
3/1990      Long Beach Police Department Canine Training Course, 48 hrs
8/1990      Adlerhorst International POST recertification
6/1991      Canine Special Weapons Team School #1
11/1991     California and Swiss search dog association disaster training, 1ST Phase
2/1992      California and Swiss search dog association disaster training, 2nd Phase
4/1992      California and Swiss search dog association disaster training, 3rd phase
6/1993      Adlerhorst International legal update
9/1993      Adlerhorst PSD Legal Seminar
9/1995      Orange County Sheriff’s Department Canine Handler Development
10/1995     Adlerhorst Police Dog Handler School 160 hrs
11/1997     POST K9 Team Evaluator’s Course #3500-24040-97001
3/2003      Adlerhorst Agitator School
3/2003      Adlerhorst Handler Development School, 40 hrs
3/2003      Adlerhorst Police Dog Handler School, 200 hrs

California POST Certified Canine Evaluator
1991 to     POST certify approximately 75 canine teams for service
Present

Canine Training Lectures Received
1/1985      Palmdale Canine Training and Kennels, Bob McAdams
1986        Golden West Canine, Fred McNabb


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1986          Alabama Kennels, Ted Sexton
1987          Adlerhorst International, David Reaver
1991          Bakersfield Kennels, Tony Barrios
1993          Adlerhorst International legal update, David Reaver




Worked the following Canines in Patrol and SWAT
5/1984        Orek Shepherd
10/1986       K.C. Rottweiler
8/1987        Arco1 Belgian Malinois
2/1989        Olm Shepherd
9/1990        Arco2 Belgian Malinois
1998          Fedor Shepherd
1998          Rocky Belgian Malinois
12/2003 to    Oscar Belgian Malinois
1/2004


Los Angeles County Sheriff’s Department Canine Trainer/Instructor
1989 to 2003 Trained Sheriff’s Deputies newly assigned to the canine unit to perform all
             functions as a canine handler, and to work in conjunction with SWAT and
             Aero Bureau. This included public lectures, demonstrations, and
             briefings.


Competitions
1993          Competed in the 1993 Police and Fire Summer Games


Competitions Judged
1998          Judged the SWAT/K9 competition in Utah for Wendell Knope


Canine Demonstrations Conducted
              150 Schools
              200 LASD station demos
              25 CHP and P.D. demos


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              50 Demos for Rotary clubs, Women’s clubs, Boys and Girl Scout clubs,
              and handicapped schools


Trained Police Departments in California
Monterey Park P.D.
Inglewood P.D.
San Diego S.D
Shasta County S.D.
Ontario P.D.
Culver City P.D
L.A.P.D.
Ventura S.S and P.D.
Long Beach P.D.
Hawthorne P.D.
Fresno P.D.
El Monte P.D.
Burbank P.D.
Montebello P.D.
Railroad P.D.
San Fernando P.D.
Monrovia P.D.


Canine Searches Conducted
1984 to       4000 area and building searches
2004          50 missing person searches
              10 dead body searches
              500 SWAT calls
              500 warrant services
              1000 apprehensions


Studied
USPCA
Survey of Southern Police Departments using canines and the use of force
Bite ratios
Find ratios
Persons killed by canines, Robinette vs. Tennessee
POST
Bark and guard theory


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Find and bite theory
Ways to compile canine statistics

Reading materials
Glen R. Johnson, Book of Tracking
Scent, Milo D. Pearsall
Police Product News
Training, The Manual, Cornel Conrad Most

Commendations
100 felony suspect search commendations for tactics
25 demo
10 citizens
50 various

Bi monthly and weekly scheduled canine training hours
5000 hours

Dailey training
2 hours per shift, 4 shifts per week, for over 20 years




Collateral duties
Taser instructor
Maintain computer input of canine statistics
Canine POST evaluator
Maintain weapons training with SWAT
Generate monthly report to the Sheriff regarding all canine activity
Train newly assigned supervisors to canine unit


Articles written

Reprogramming the radio
Find and bite vs. find and bark
In house training
The canine training manual


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Working canines in SWAT lecture

Canine Vehicles
Installed and wired the canine vehicles so audio prerecorded canine announcements could
be played from a cassette over the public address system in Spanish and English. This
allowed suspects to surrender and residents to go in their homes for safety.


Super Soc Bean Bag Testing

In July 2008 I conducted test firing of the Bean Bag Projectile with the
assistance of a video high speed photographer. The testing showed the
pattern and speeds of the contents of the shotgun shell, and what happens at
various distances.


Third Appellate District C057327 Matthew Steven Raybould v. City of
Placer
“Mr. Burwell has over 20 years experience as a canine
handler for the Los Angeles County Sheriff's Office, trainer,
and Certified Canine Evaluator for the California Peace Officers
Standards and Training (POST). His qualifications are impeccable.




Very truly yours,




Ernest Burwell




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                               Police Consulting
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My Fee Schedule is as follows:

Travel expenses as actually incurred, such as: lodging, reasonable meals, and
flight/driving costs.

•     All case review, consulting, and writing of expert opinions (such as Rule 26
reports) at $300.00 per hour.

•     All testimony (either at trial or deposition) at $300.00 per hour, with a four
hour minimum required.

•     A Non Refundable Retainer Fee of $3000.00 when initially retained which is
used against the above listed fees. Subsequent billings at the rates specified.



There is no formal contract required. My Federal Tax ID Number is XX-XXXXXXX




Very truly yours,




Ernest Burwell
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                             ewbk94@gmail.com

Ernest Burwell Rule 26 Trial Testimony and Depositions

De La Torre v City of Renton, WA. 2:14-cv-01779                         2015
Joe M. Lopez v City of Santa Maria CV- 13-7287 AJW                      2015
Brian McDonald v Pima County C20142895                                  2015
Travon Johnson v City of Los Angeles 214-cv-05848-DMG                   2015
Morgan Johnson v County of San Diego14CV0616-LAB (KSC)                  2015
David Mendoza v. City of Peoria CV-13-00258-PHX-NVW                     2014
Donald Bradley v. Oton Villegas AR. 3:13-cv-08229-JJT                   2014
Thomas Capra v California Highway PatrolCV13-00509-JVS                  2014
Mher Seukunian v City of Los Angeles CV13-02091-JAK                     2014
Marvin Pullen v City of Madison No. 13-CV-827                           2014
Bola Okezie v Prince George County 8:13-cv-00168 AW                     2014
Weaver v City of Santa Clara CA. No 5:12-cv-06334-PSG                   2014
Lashonn White v City of Tacoma WA. 3:12-cv-05987-RBL                    2014
Noel Saldana v City of Lakewood WA. U-6066-RBL                          2013
Darwin Morris v Summit County Co. 1:12-cv-02134-RPM                     2013
Cartier Anderson v City of Long Beach No. CV12-01928 GHK                2013



Very truly yours,
